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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE D ISTRICT OF N EBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                             Plaintiff,           )
                                                  )
v.                                                )      Case No. 4:88CR33
                                                  )
ANTHONY ALEXANDER,                                )
                                                  )
                             Defendant.           )

                                          ORDER

        This matter is before the Court on Mr. Alexander's Motion to Review Detention and

Request for Hearing (Filing No. 770). The Court finds said motion should be granted.

Accordingly,

        IT IS ORDERED:

        1) The United States Marshal’s Office shall release Mr. Alexander from custody

forthwith.

        2) Mr. Alexander shall participate and successfully complete an outpatient treatment

program.

        3) All other conditions of Mr. Alexander’s supervised release, not inconsistent with

this Order, shall remain in force and effect.

        DATED this 19th day of November, 2010.

                                                  BY THE COURT:



                                                  _____________________________
                                                  United States Magistrate Judge
